82 F.3d 423
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.MASSACHUSETTS CASUALTY INSURANCE COMPANY, a Massachusettscorporation, Plaintiff-Appellee,v.Curtis F. WHITE, Defendant-Appellant.
    No. 95-16384.
    United States Court of Appeals, Ninth Circuit.
    Submitted March 26, 1996.*Decided April 1, 1996.
    
      Before:  GOODWIN, WIGGINS and O'SCANNLAIN, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      We affirm for the reasons stated in the district court's Order filed on June 8, 1995.  See American Mutual Liability Ins. v. Goff, 281 F.2d 689, 692 (9th Cir.)  (rescission requires insurance company to show misrepresentation material to the policy's risk), cert. denied, 81 S.Ct. 284 (1960);  Wilson v. Western Nat. Life Ins. Co., 1 Cal.Rptr. 157, 165 (Cal.Ct.App.1991).
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    